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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



 MARK DOUGLAS HUBER,
                                                  Case No. 1:23-cv-00039-DKG
                        Petitioner,

                                                  DECLARATION OF COUNSEL
     v.


 RANDY VALLEY, Warden,


                        Respondent.

       I Craig H. Durham, declare under the penalty of perjury that the following is true

and correct.

       1.      Given the size of the state court record in this case, for the convenience of

the Court and counsel I have separated selected records and attached them here.

Several of these records are found at multiple spots in the state court record.



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      2.     Attached as Exhibit A is a true and correct copy of the Affidavit of Greg

Hampikian. This is found in State’s Lodging C-6, pp. 950-976.

      3.     Attached as Exhibit B is a true and correct copy of the Deposition

Transcript of John Redal. This is found in State Court Lodging C-4, pp. 570-640.

      4.     Attached as Exhibit C is a true and correct copy of D.V.’s pretrial

statement to police officers. This is found in State Court Lodging F-1, pp. 118-120.

      5.     Attached Exhibit D is a true and correct copy of the Affidavit of William

Dire, M.D. This is found in the Augmented Record on Appeal that the Clerk of Court

filed in Shoshone County District, Court Case No. CR-2010-3214, Idaho Supreme Court

Docket No. 39222. The undersigned has submitted the Augmented Record as a

supplemental state court lodging in this matter.

      EXECUTED this 16th day of November, 2023.

      I declare under penalty of perjury that the foregoing is true and correct.




                                         /s/ Craig H. Durham
                                         Attorney for Petitioner




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